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Appendix J

Charles Schwab: Follow up x

Date: 09/18/2024 Account: Individual ...548 Category: Customer Service

From: Schwab Client Service
Message #: 06919NK6UYEN6YSA
Dear Scott Traudt,

Good morning!

We received your message regarding messages and audio recordings transitioning from TD. | am sorry you were
misinformed, but messages were not intended to transfer, and communication was sent to suggest saving them in
advance of the transfer.

While we do retain messages and audio recordings internally, they are not generally available for clients. That may be
where the miscommunication happened. We could access them if there was a business need, such as a trade dispute.

If you would like to speak to a supervisor over the phone, then you will want to call the main line to be transferred to
the Supervisor hotline. Please call 800-435-4000, if you would like to discuss this further.

We are grateful for your business! Know that we are here 24 hours a day to help and please have a wonderful day!
Sincerely,

Stacie Haden

eServices Supervisor
Client Service & Support
1-800-435-4000

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